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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LIAM ALEXANDER,

                                Plaintiff,
                                                                 22-CV-4610 (LTS)
                    -against-
                                                                CIVIL JUDGMENT
 NYPD; DOC; FATHER SMITH;
 UNKNOWN UNKNOWN,,

                                Defendants.

       For the reasons stated in the August 24, 2022, order, this action is dismissed.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

SO ORDERED.

 Dated:   August 24, 2022
          New York, New York

                                                              /s/ Laura Taylor Swain
                                                            LAURA TAYLOR SWAIN
                                                         Chief United States District Judge
